Holland & Hart LLP
9555 Hillwood Drive, 2nd Floor
Las Vegas, Nevada 89134

Phone: (702) 669-4600 # Fax: (702) 669-4650

bo

Oo SH IN DD non SP W

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 14-50333-gs Doc 159 Entered 08/05/14 17:16:10 Pagei1of5

Timothy A. Lukas, Esq.

Nevada Bar No. 4678

Joseph G. Went, Esq.

Nevada Bar No. 9220

HOLLAND & HART Lip

9555 Hillwood Drive, 2nd Floor

Las Vegas, Nevada 89134

Tel: (702) 669-4600

Fax: (702) 669-4650

Email: jgwent@hollandhart.com
Attorneys for John Beach, Trustee of the
Beach Living Trust dated January 22, 1999

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
In re: Case No.: BK-N-14-50333-btb
Chapter: 11

ANTHONY THOMAS and WENDI THOMAS
[Lead Case — Jointly Administered]

O Affects ANTHONY THOMAS and Case No.: BK-N-14-50331-btb
WENDI THOMAS Chapter: 11
Affects AT EMERALD, LLC NOTICE OF ENTRY OF ORDER
ON MOTION TO COMPEL
O Affects all Debtors PRODUCTION OF REQUIRED
KEY OR AUTHORIZE DRILL OUT
OF VAULT LOCK

Hearing Date: July 30, 2014
Hearing Time: 10:00 a.m. PST

 

 

PLEASE TAKE NOTICE that on the 5th day of August, 2014, an Order on Motion to
Compel Production of Required Key or Authorize Drill out of Vault Lock was entered in the
above-captioned case, a copy of which is attached hereto.

Dated this 5th day of August, 2014.

HOLLAND & HART LLP
/s/ Timothy A, Lukas
By:
Timothy A. Lukas, Esq. (4678)
Joseph G. Went, Esq. (9220)

 

Page 1 of 2

7033329_1

 
Holland & Hart LLP

9555 Hillwood Drive, 2nd Floor
Las Vegas, Nevada 89134

Phone: (702) 669-4600 # Fax: (702) 669-4650

ao NSN DO CN

‘oO

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 14-50333-gs Doc 159 Entered 08/05/14 17:16:10 Page 2of5

CERTIFICATE OF SERVICE

On August 5, 2014, I served a true and correct copy of the NOTICE OF ENTRY OF
ORDER ON MOTION TO COMPEL PRODUCTION OF REQUIRED KEY OR
AUTHORIZE DRILL OUT OF VAULT LOCK as follows:

Via the Court’s Notice of Electronic Filing:

e KEVIN A. DARBY kevin@darbylawpractice.com, alecia@darbylawpractice.com;
sarah@darbylawpractice.com; itati@darbylawpractice.com;
tricia@darbylawpractice.com

e TIMOTHY A LUKAS ecflukast@hollandhart.com

STEFANIE T. SHARP ssharp@rbsllaw.com, btaylor@rbsllaw.com;

czaehringer@rbsllaw.com

WAYNE A. SILVER w_silver@sbcglobal.net, ws@waynesilverlaw.com

ALAN R SMITH mail@asmithlaw.com

AMY N. TIRRE amy@amytirrelaw.com, admin@amytirrelaw.com

U.S. TRUSTEE - RN - 11 USTPRegion17.RE.ECF@usdoj.gov

JOSEPH G WENT JGWent@hollandhart.com, algrangaard@hollandhart.com

I declare under penalty of perjury that the foregoing is true and correct.
DATED this 5th day of August, 2014

/s/ Liz Ford

 

SIGNATURE OF DECLARANT

Page 2 of 2

7033329_1

 
Case 14-50333-gs Doc 159 Entered 08/05/14 17:16:10 Page 3 of 5

Case 14-50333-btb Doc 157 Entered 08/05/14 16:09:43 Page 1 of 3

 

Byun 7 Cake

 

 

 

Holland & Hart LLP
9555 Hillwood Drive, 2nd Floor
Las Vegas, Nevada 89134

 

 

 

7013067_1

Page 1 of 3

2
Honorable Bruce T. Beesley
United States Bankruptcy Judge
ae teres on Docket
Aligust 05, 2014
5
6
7 || Timothy A. Lukas, Esq.
Nevada Bar No. 4678
8 || Joseph G. Went, Esq.
Nevada Bar No. 9220
9 || HOLLAND & HART Lip
9555 Hillwood Drive, 2nd Floor
10 || Las Vegas, Nevada 89134
Tel: (702) 669-4600
11 || Fax: (702) 669-4650
D Email: jgwent@hollandhart.com
2 Attorneys for John Beach, Trustee of the
$ 13 |) Beach Living Trust dated January 22, 1999
= 14 UNITED STATES BANKRUPTCY COURT
B15 DISTRICT OF NEVADA
>
S 16 In re: Case No.: BK-N-14-50333-btb
¥ Chapter: 11
% 17 || ANTHONY THOMAS and WENDI THOMAS
3 [Lead Case — Jointly Administered]
~ 18
8 Affects AT EMERALD, LLC Case No.: BK-N-14-50331-btb
m 19 C1) Affects all Debtors Chapter: 11
20 ORDER ON MOTION TO COMPEL
PRODUCTION OF REQUIRED
1 KEY OR AUTHORIZE DRILL OUT
OF VAULT LOCK
a2 Hearing Date: July 30, 2014
23 Hearing Time: 10:00 a.m.
24
25 Creditor John Beach (“Beach”), as trustee of the Beach Living Trust dated January 22,
26 || 1999 (the “Beach Trust”), by and through its attorneys, Holland & Hart LLP, filed its Motion to
27.]| Compel Production of Required Key or Authorize Drill Out of Vault Lock and Reply (the
28

 

 
 

Case A4- 2088S “gS _ Po¢ 159 Entered 08/05/14 17:16: 10 ~Page 4 of 5

Case 14- 50333- btb Doc 157 Entered 08/05/14 16: 09:43 Page 2 of 3

 

. Las Vegas, Nevada 89134
Phone: (702) 669-4600 # Fax: (702) 669-4650

Holland & Hart LLP
9555 Hillwood Drive, 2nd Floor

oO fo NY NH HW BP W NO =

NY wp NY HB NY VN NON NY NO Be ee Fe FY YY - FF YF YS
eo DON AW ff WYO NO SF OO Oo He NI DN HH FPF WY NHN KF ©

 

“Motion” and “Reply”, respectively) [Dkt#124 and 152, respectively] seeking an order from this
Court in support of examination of the Debtor’s primary asset secured in a vault in Sarasota,
Florida. The Debtor, by and through its attorney, Holly E. Estes, Esq. of the Law Offices of
Alan R. Smith, filed its opposition [Dkt #150] to the Motion requesting that the Motion be
denied. The Court, having reviewed the parties’ pleadings and the case file, and after argument
of counsel at the hearing on this matter, placed its findings on the record which are incorporated

by reference pursuant to F.R.B.P. 7052 and F.R.C.P. 52; and,

IT IS HEREBY ORDERED that:

1. The Debtor and/or it’s principle, Anthony Thomas, provide the key necessary to
access the Sarasota Vault where the Debtor’s emerald is stored to Debtor’s counsel no later than
Friday, August 1, 2014;

2. Debtor’s counsel shall thereafter immediately deliver the key to counsel for the
Beach Trust, Mr. Lukas, in order to access the vault and complete the examination as scheduled
in Florida;

3. The individuals accessing the vault and examining the emerald shall be limited to
a representative of the Beach Trust, its counsel and a gemologist. Counsel for the Beach Trust

shall provide Debtor’s counsel the name of all individuals accessing the vault prior to such

examination including the name and qualifications of any gemologist, the name of the

representative of the Beach Trust, and the name and bar number for counsel present while the
examination of the emerald is to take place; and

4. One week following the inspection by the Beach Trust, the Debtor and the Beach
Trust shall file a status report with the court on the results of the examination and status of the

sale previously approved by the Court.

IT IS SO ORDERED

Page 2 of 3
7013067_1

 
Case 14- 20333- “aS Doc 139 Entered 08/05/14 Lf: 16: 10 Page 2 of 5

Case 14- 50333- btb Doc 157 Entered 08/05/14 16: 09: 43 Page 3 of 3

 

Las Vegas, Nevada 89134

Holland & Hart LLP
9555 Hillwood Drive, 2nd Floor
Phone: (702) 669-4600 # Fax: (702) 669-4650

Oo Fe NH UH FP WY NY KY

N NO NO NO NN HH WN DN NO ww eR
Co YN ONO Mh BP WY NY KF CO ODO Oe HN Dn AH FF WY NY KF CO

___ The court has waived the requirement set forth in LR 9021(b)(1).

___No party appeared at the hearing or filed an objection to the motion.

In accordance with LR 9021, counsel submitting this document certifies as follows (check one):

X_ I have delivered a copy of this proposed order to all counsel who appeared at the hearing, and
each has approved or disapproved the order, or failed to respond, as indicated below:

 

Attorney/Party

Approved | Disapproved

Failed to
Respond

 

Holly E. Estes, Esq., attorney for the Debtor

 

Xx

 

 

 

 

SUBMITTED BY:

/s/ Timothy A. Lukas

 

TIMOTHY A. LUKAS, ESQ.

7013067_1

 

#H#

Page 3 of 3

___ I certify that this is a case under chapter 7 or 13, that I have served a copy of this order with the
motion pursuant to LR 9014(g), and that no party has objected to the form or content of the order.

 

 
